  Case 1:19-cv-00191-NT Document 1 Filed 04/23/19 Page 1 of 10                     PageID #: 1




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MAINE


 LAURENE WINDSOR, individually and on                          Civil Case Number:
 behalf of all others similarly situated,

                        Plaintiffs,                             CIVIL ACTION

                                                       CLASS ACTION COMPLAINT
                   -against-                                     AND
                                                        DEMAND FOR JURY TRIAL

 LAW OFFICES HOWARD LEE SCHIFF,
 P.C.,

                        Defendants.

       Plaintiff LAURENE WINDSOR (hereinafter, “Plaintiff”), a Maine resident, brings this

class action complaint by and through the undersigned attorneys, against Defendant LAW

OFFICES HOWARD LEE SCHIFF, P.C. (hereinafter “Defendant”), individually and on behalf

of a class of all others similarly situated, pursuant to Rule 23 of the Federal Rules of Civil

Procedure, based upon information and belief of Plaintiff’s counsel, except for allegations

specifically pertaining to Plaintiff, which are based upon Plaintiff’s personal knowledge.

                     INTRODUCTION/PRELIMINARY STATEMENT

   1. Congress enacted the FDCPA in 1977 in response to the “abundant evidence of the use of

       abusive, deceptive, and unfair debt collection practices by many debt collectors.” 15 U.S.C.

       § 1692(a). At that time, Congress was concerned that “abusive debt collection practices

       contribute to the number of personal bankruptcies, to material instability, to the loss of

       jobs, and to invasions of individual privacy.” Id. Congress concluded that “existing laws .

       . . [we]re inadequate to protect consumers,” and that “the effective collection of debts”

       does not require “misrepresentation or other abusive debt collection practices.” 15 U.S.C.




                                                1
Case 1:19-cv-00191-NT Document 1 Filed 04/23/19 Page 2 of 10                   PageID #: 2




   §§ 1692(b) & (c).

2. Congress explained that the purpose of the Act was not only to eliminate abusive debt

   collection practices, but also to “insure that those debt collectors who refrain from using

   abusive debt collection practices are not competitively disadvantaged.” Id. § 1692(e). After

   determining that the existing consumer protection laws were inadequate, id. § 1692(b),

   Congress gave consumers a private cause of action against debt collectors who fail to

   comply with the Act. Id. § 1692k.

3. The rights and obligations established by section 15 U.S.C. § 1692g were considered by

   the Senate at the time of passage of the FDCPA to be a “significant feature” of the Act. See

   S. Rep. No. 382, 95th Cong., 1st Sess. 4, at 4, reprinted in 1977 U.S.C.C.A.N. 1695, 1696.

4. New Hampshire’s Unfair, Deceptive or Unreasonable Collection Practices Act further

   provides guidelines for the collection industry to follow under RSA 358-C.

                                  JURISDICTION AND VENUE

5. The Court has jurisdiction over this class action under 28 U.S.C. § 1331, 15 U.S.C. § 1692

   et seq. and 28 U.S.C. § 2201. If applicable, the Court also has pendent jurisdiction over

   the state law claims in this action pursuant to 28 U.S.C. § 1367(a).

6. Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2).

                                  NATURE OF THE ACTION

7. Plaintiff brings this class action on behalf of a class of Maine consumers seeking redress

   for Defendant’s actions of using an unfair and unconscionable means to collect a debt.

8. Defendant’s actions violated § 1692 et seq. of Title 15 of the United States Code,

   commonly referred to as the Fair Debt Collections Practices Act (“FDCPA”) which

   prohibits debt collectors from engaging in false, deceptive or misleading practices.




                                             2
Case 1:19-cv-00191-NT Document 1 Filed 04/23/19 Page 3 of 10                    PageID #: 3




9. Plaintiff is seeking damages, and declaratory and injunctive relief.

                                          PARTIES

10. Plaintiff is a natural person and a resident of the State of Maine and is a “Consumer” as

   defined by 15 U.S.C. §1692(a)(3).

11. Defendant Law Offices Howard Lee Schiff, P.C. is a collection law firm with its principal

   office at 510 Tolland Street, East Hartford, CT 06128.

12. Upon information and belief, Defendant is a company that uses the mail, telephone, or

   facsimile in a business the principal purpose of which is the collection of debts, or that

   regularly collects or attempts to collect debts alleged to be due another.

13. Defendant is a “debt collector,” as defined under the FDCPA under 15 U.S.C. § 1692a(6).


                              ALLEGATIONS OF FACT


14. Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs above

   herein with the same force and effect as if the same were set forth at length herein.

15. Some time prior to May 13, 2018, an obligation was allegedly incurred to SYNCHRONY

   BANK.

16. The SYNCHRONY BANK obligation arose out of a transaction in which money, property,

   insurance or services, which are the subject of the transaction, are primarily for personal,

   family or household purposes.

17. The alleged SYNCHRONY BANK obligation is a "debt" as defined by 15 U.S.C.§

   1692a(5).

18. SYNCHRONY BANK is a "creditor" as defined by 15 U.S.C.§ 1692a(4).




                                             3
Case 1:19-cv-00191-NT Document 1 Filed 04/23/19 Page 4 of 10                      PageID #: 4




19. Sometime prior to May 13, 2018, the SYNCHRONY BANK debt was sold or otherwise

   assigned to Defendant.

20. On or about May 13, 2018, Defendant caused to be delivered to the Plaintiff a collection

   letter in an attempt to collect the alleged SYNCHRONY BANK debt. See Exhibit A.

21. Upon information and belief, the May 13, 2018 letter was the first communication between

   the Defendant and Plaintiff regarding the SYNCHRONY BANK debt.

22. The May 13, 2018 letter was sent or caused to be sent by persons employed by Defendant

   as a “debt collector” as defined by 15 U.S.C. §1692a(6).

23. The May 13, 2018 letter is a “communication” as defined by 15 U.S.C. §1692a(2).

24. The Plaintiff received and read the Letter sometime after May 13, 2018.

25. The Letter stated in part:

                   “Balance Due: $10,280.19”

26. The Letter further stated:

          “If you do not dispute the validity of the debt, or any portion thereof, within 30 days

          of the receipt of this letter, we will assume it is valid. If you dispute the validity of

          this debt or any portion thereof, within 30 days of receipt of this letter we will obtain

          and mail you verification of the debt or a copy of a judgment against you. At your

          request, in writing within 30 days of receipt of this letter, we will provide you with

          the name and address of the original creditor, if different from the current creditor.”

27. Absent from the above statement, was that the dispute had to be in writing in order to obtain

   verification of the debt or a copy of a judgment.

28. Upon reading the notice, the Plaintiff, as would any least sophisticated consumer, believed

   that she could obtain verification of the debt over the phone.




                                              4
Case 1:19-cv-00191-NT Document 1 Filed 04/23/19 Page 5 of 10                    PageID #: 5




29. Pursuant to 15 U.S.C. §1692g(a)(4) a debt collector must within five days after the initial

   communication, send the consumer a written notice containing a statement that if the

   consumer notifies the debt collector in writing within 30 days after receiving the notice that

   the consumer disputes the validity of the debt or any portion thereof, the debt collector will

   obtain verification of the debt or a copy of a judgement against the consumer and such

   verification or judgment will be mailed to the consumer.

30. Congress adopted the debt validation provisions of section 1692g to guarantee that

   consumers would receive adequate notice of their rights under the FDCPA. Wilson v.

   Quadramed, 225 F.3d 350 at 354, citing Miller v. Payco–General Am. Credits, Inc., 943

   F.2d 482, 484 (4th Cir.1991).

31. Congress further desired to “eliminate the recurring problem of debt collectors dunning the

   wrong person or attempting to collect debts which the consumer has already paid.” S.Rep.

   No. 95–382, at 4 (1977), reprinted in 1977 U.S.C.C.A.N. 1695, 1699.

32. By providing an inaccurate validation notice, the Defendant caused the Plaintiff real harm.

33. The Defendant deprived the Plaintiff of information to which she was statutorily entitled,

   and subjected the Plaintiff to deceptive collection practices.

                                   CLASS ALLEGATIONS

34. Plaintiff brings claims, pursuant to the Federal Rules of Civil Procedure (hereinafter

   “FRCP”) Rule 23, individually and on behalf of the following consumer class (the “Class”)

   consisting of: a) All consumers who have an address in the state of Maine b) who were sent

   a collection letter from the Defendant c) attempting to collect a consumer debt owed to or

   allegedly owed to Synchrony Bank d) that states “If you do not dispute the validity of the

   debt, or any portion thereof, within 30 days of the receipt of this letter, we will assume it




                                             5
Case 1:19-cv-00191-NT Document 1 Filed 04/23/19 Page 6 of 10                         PageID #: 6




   is valid. If you dispute the validity of this debt or any portion thereof, within 30 days of

   receipt of this letter we will obtain and mail you verification of the debt or a copy of a

   judgment against you. At your request, in writing within 30 days of receipt of this letter,

   we will provide you with the name and address of the original creditor, if different from

   the current creditor.” (e) which letter was sent on or after a date one year prior to the filing

   of this action and on or before a date 21 days after the filing of this action.

35. The identities of all class members are readily ascertainable from the records of

   Defendant and those companies and entities on whose behalf they attempt to collect

   and/or have purchased debts.

36. Excluded from the Plaintiff Class are the Defendant and all officers, members, partners,

   managers, directors, and employees of the Defendant and their respective immediate

   families, and legal counsel for all parties to this action and all members of their

   immediate families.

37. There are questions of law and fact common to the Plaintiff Class, which common issues

   predominate over any issues involving only individual class members. The principal issue

   is whether the Defendant’s written communications to consumers, in the forms attached

   as Exhibit A, violate 15 U.S.C. §1692e and 1692g.

38. The Plaintiff’s claims are typical of the class members, as all are based upon the same

   facts and legal theories.

39. The Plaintiff will fairly and adequately protect the interests of the Plaintiff Class defined

   in this complaint. The Plaintiff has retained counsel with experience in handling

   consumer lawsuits, complex legal issues, and class actions, and neither the Plaintiff nor

   his attorneys have any interests, which might cause them not to vigorously pursue this




                                              6
Case 1:19-cv-00191-NT Document 1 Filed 04/23/19 Page 7 of 10                       PageID #: 7




   action.

40. This action has been brought, and may properly be maintained, as a class action pursuant

   to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a well-

   defined community interest in the litigation:

   (a)       Numerosity: The Plaintiff is informed and believes, and on that basis alleges, that

             the Plaintiff Class defined above is so numerous that joinder of all members would

             be impractical.

   (b)       Common Questions Predominate: Common questions of law and fact exist as to

             all members of the Plaintiff Class and those questions predominate over any

             questions or issues involving only individual class members. The principal issue is

             whether the Defendant’s written communications to consumers, in the forms

             attached as Exhibit A, violate 15 U.S.C. § 1692e and 1692g.

   (c)       Typicality: The Plaintiff’s claims are typical of the claims of the class members.

             The Plaintiff and all members of the Plaintiff Class have claims arising out of the

             Defendants’ common uniform course of conduct complained of herein.

   (d)       Adequacy: The Plaintiff will fairly and adequately protect the interests of the class

             members insofar as Plaintiff has no interests that are averse to the absent class

             members. The Plaintiff is committed to vigorously litigating this matter. Plaintiff

             has also retained counsel experienced in handling consumer lawsuits, complex

             legal issues, and class actions. Neither the Plaintiff nor Plaintiff’s counsel have any

             interests which might cause them not to vigorously pursue the instant class action

             lawsuit.

   (e)       Superiority: A class action is superior to the other available means for the fair and




                                               7
Case 1:19-cv-00191-NT Document 1 Filed 04/23/19 Page 8 of 10                     PageID #: 8




           efficient adjudication of this controversy because individual joinder of all members

           would be impracticable. Class action treatment will permit a large number of

           similarly situated persons to prosecute their common claims in a single forum

           efficiently and without unnecessary duplication of effort and expense that

           individual actions would engender.

41. Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure is

   also appropriate in that the questions of law and fact common to members of the Plaintiff

   Class predominate over any questions affecting an individual member, and a class action

   is superior to other available methods for the fair and efficient adjudication of the

   controversy.

42. Depending on the outcome of further investigation and discovery, Plaintiff may, at the

   time of class certification motion, seek to certify a class(es) only as to particular issues

   pursuant to Fed. R. Civ. P. 23(c)(4).



                                           COUNT I

     VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                        15 U.S.C. §1692g et seq.

43. Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs above

   herein with the same force and effect as if the same were set forth at length herein.

44. Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff violated

   various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692g.

45. The Defendant violated said provision by failing to accurately convey the validation notice

   in violation of 1692g(a)(4).

46. By reason thereof, Defendant is liable to Plaintiff for judgment that Defendant’s conduct



                                              8
  Case 1:19-cv-00191-NT Document 1 Filed 04/23/19 Page 9 of 10                       PageID #: 9




       violated Section 1692g et seq. of the FDCPA, actual damages, statutory damages, costs

       and attorneys’ fees.

                                                 COUNT II

         VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                            15 U.S.C. §1692e et seq.

   47. Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs above

       herein with the same force and effect as if the same were set forth at length herein.

   48. Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff violated

       various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692e.

   49. Pursuant to 1692e, a debt collector may not use any false, deceptive or misleading

       representation in connection with the collection of a debt.

   50. The Defendant violated said section by falsely representing that the Plaintiff could obtain

       verification of the debt over the phone in violation of 15 U.S.C. § 1692e(10).

   51. By reason thereof, Defendant is liable to Plaintiff for judgment that Defendant’s conduct

       violated Section 1692e et seq. of the FDCPA, actual damages, statutory damages, costs and

       attorneys’ fees.

                                DEMAND FOR TRIAL BY JURY

   52. Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests a

       trial by jury on all issues so triable.

                                        PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against Defendants as follows:

               (a)     Declaring that this action is properly maintainable as a Class Action and

certifying Plaintiff as Class representative and the undersigned as Class Counsel;

               (b)     Awarding Plaintiff and the Class statutory damages;



                                                   9
 Case 1:19-cv-00191-NT Document 1 Filed 04/23/19 Page 10 of 10                    PageID #: 10




                (c)   Awarding Plaintiff and the Class actual damages;

                (d)   Awarding Plaintiff costs of this Action, including reasonable attorneys’ fees

and expenses;

                (e)   Awarding pre-judgment interest and post-judgment interest; and

                (f)   Awarding Plaintiff and the Class such other and further relief as this Court

may deem just and proper.


Dated: May 1, 2019
                                     By:    /s/ Terrie Harman
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                                               10
